IN BANC.
This is an appeal from judgments allowing the separate claims of Richard Ray King and Ivan King against the guardianship estate of their father, who has been duly adjudged an incompetent. The claims were tried together in the Circuit Court and by stipulation have been submitted together in this court. Both claimants had occupied a farm belonging to their father, said incompetent, but at different times. Both claims are based upon ownership of personal property which they had either bought or which had been given to them by their father. Formal duly verified claims were presented to the guardian. The claims were rejected by the guardian. No answer was filed by said guardian, but claimants were required to adduce proof. The claims were presented and evidence adduced as though issues were regularly joined by proper pleadings as in an action of claim and delivery. A jury was waived by stipulation, and the case is brought here as an action at law. A bill of exceptions was duly prepared and filed and includes all the testimony. The guardian *Page 217 
appeals from the judgments and assigns as errors the allowance of the claims. No question of law is presented. The errors assigned are based upon the contention upon the part of the guardian that the evidence is not sufficient to support the claims. The guardian does not contend that there is no material evidence.
AFFIRMED.
The record does not present any question for determination by this court. It has been often decided that a question of fact once determined by a jury cannot be re-examined by this court: Const., Art. VII, § 3c.; Morser v. Southern Pacific Co.,124 Or. 384, 401 (262 P. 252); Crawford v. Cobbs  MitchellCo., 121 Or. 636, 638 (257 P. 16); Thompson v. Larsen,118 Or. 421, 428, 429 (247 P. 139). We are not justified in adding to the volume of decisions on that question. Our statute prescribes that the findings of a court in an action at law are equivalent to a verdict of a jury: Or. L., § 159.
The judgments appealed from are affirmed.
AFFIRMED. *Page 218 